           Case 1:15-cv-00277-GMS Document 4 Filed 03/30/15 Page 1of1 PagelD #: 222
AO 120 (Rev. 08/10)

                              Mail Stop 8                                                          REPORT ON THE
TO:
          Director of the U.S. Patent and Trademark Office                                 FILING OR DETERMINATION OF AN
                            P.O. Box 1450                                                  ACTION REGARDING A PATENT OR
                     Alexandria, VA 22313-1450                                                       TRADEMARK

                 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
         filed in the U.S. District Court                              for the District of Delaware                          on the following
       D Trademarks or         Glf Patents.    (   D   the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                        DATE FILED                            U.S. DISTRICT COURT
                                              3/30/2015                                          for the District of Delaware
PLAINTIFF                                                                       DEFENDANT

 FOREST LABORATORIES, LLC, et al.                                                 INVAGEN PHARMACEUTICALS INC.




        PATENTOR                        DATE OF PATENT
                                                                                           HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                     OR TRADEMARK

I   7,834,020                                 11/16/2010                  Merck Patent GmbH

2   8,193,195                                  6/5/2012                   Merck Patent GmbH

3 8,236,804                                    8/7/2012                   Merck Patent GmbH

4 8,673,921                                   3/18/2014                   Merck Patent GmbH

5


                                In the above-entitled case, the following patent(s)/ trademark(s) have been included:
DA TE INCLUDED                    INCLUDED BY
                                                            D   Amendment           D   Answer         D   Cross Bill   D   Other Pleading
        PATENT OR                       DATE OF PATENT
                                                                                           HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                     OR TRADEMARK

1

2

3

4

5


                      In the above-entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT


               ~c;._.-;,.;;;~~ - ~ ~~~~


         U\Jilmi~atQn.
Copy 1-1111'llll'll1iHat10n ofE "· ma1·1 t h"1s copy to n·irector c opy 3-U pon termmat10n
                            o act10n,                                               . . of action,
                                                                                              . ma1·1 t h"1s copy to n·irector
Copy 2-Upon filing document adding patent(s), mail this copy to Director Copy 4---Case file copy
